         Case 3:14-cv-01326-SEC Document 52 Filed 04/14/15 Page 1 of 1



 1                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO
 2
      FAIR VIEW SERVICE STATION, INC.,
 3
            Plaintiff,
 4                                                         Civil No. 14-1326 (SEC)
                         v.
 5
      DORAL FINANCIAL CORPORATION,
 6    ET AL.,
 7         Defendants.
 8

 9    ROBERT CORWIN,
10          Plaintiff,
                                                          Civil No. 14-1555 (SEC)
11                       v.
12    DORAL FINANCIAL CORPORATION,
      ET AL.,
13
            Defendants.
14

15
                                            JUDGMENT
16

17         In view of the automatic stay imposed by 11 U.S.C. § 362; see Docket # 51, this action
18   shall be closed administratively, without prejudice, pending the outcome of the bankruptcy
19   proceedings. The case may be reopened by way of motion thereafter.
20         IT IS SO ORDERED.
21         In San Juan, Puerto Rico, this 14th day of April, 2015.
22                                           s/ Salvador E. Casellas
                                             SALVADOR E. CASELLAS
23                                           U.S. Senior District Judge
24

25

26
